
Wardlaw, J.
I concur — agreeing now that the promise made hy defendant to pay the Caldwell bond, may be fairly construed to be a promise to relieve the obligor from the obligation — in effect to indemnify him against it: — and therefore that the statute of limitations did not begin to run until the payment *106by the obligor: — But I do not agree that the answer, which, whilst it admits the making of the promise denies its validity and shows the defendant’s refusal to perform it, would have interrupted the statute, if it had previously began to run.
Under the view now taken of the promise, there was propriety in the Court of Equity refusing’ to decree against this defendant before payment to Caldwell: so the objection of res judicata does not apply.

Motion granted.

